            Case 2:13-cr-00064-RAJ       Document 142      Filed 06/19/13     Page 1 of 1



 1                                                                                 Judge Jones
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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8   UNITED STATES OF AMERICA,                 )
                                               )      NO. CR 13-64RAJ
 9                               Plaintiff,    )
                                               )      ORDER TO SEAL GOVERNMENT’S
10                                             )      RESPONSE TO DEFENDANT
                   v.                          )      CURTIS SMITH’S MOTION
11                                             )      FOR IMMEDIATE HEARING
                                               )
12   CURTIS SMITH,                             )
                                               )
13                               Defendant.    )
                                               )
14   _________________________________
15          Based on the Government’s Motion to Seal Response to Defendant Curtis Smith’s
16   Motion for Immediate Hearing in the above-captioned case and the reasons set forth
17   therein,
18          It is hereby ORDERED that the Government’s Motion to Seal (Dkt. #140) is
19   GRANTED. The Government’s Response to Defendant’s Motion for Immediate Hearing
20   filed under Dkt. #141 shall be sealed and remain sealed until further order of the court.
21          DATED this 19th day of June, 2013.
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23
                                                      A
                                                      The Honorable Richard A. Jones
                                                      United States District Judge
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     ORDER GRANTING MOTION TO SEAL - 1                                           UNITED STATES ATTORNEY
                                                                                  700 Stewart Street, Suite 5220
     U.S. v. MOSLEY, ET AL./CR13-64RAJ                                           Seattle, Washington 98101-1271
                                                                                          (206) 553-7970
